         Case 3:19-cv-03422-SI Document 144 Filed 05/23/22 Page 1 of 6




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     New Zealand Methodist Trust Association
11   [Additional counsel on signature page]

12                                UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA
14
     CASEY ROBERTS, Individually and On              No. 3:19-cv-03422-SI
15   Behalf of All Other Similarly Situated,
                                                     JOINT STIPULATION AND
16                                      Plaintiff,   [PROPOSED] SCHEDULING ORDER
                                                     EXTENDING EXPERT DISCOVERY
17          v.                                       AND DISPOSITIVE MOTION
18                                                   DEADLINES
     ZUORA, INC., TIEN TZUO, and TYLER
19   SLOAT,                                          Judge:      Hon. Susan Illston
                                                     Dept.:      Courtroom 1, 17th Floor
20                                   Defendants.     Date Action Filed: June 14, 2019
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          Case 3:19-cv-03422-SI Document 144 Filed 05/23/22 Page 2 of 6




 1          Pursuant to Civil Local Rule 6-2(a), Lead Plaintiff New Zealand Methodist Trust Association

 2   and Defendants Zuora, Inc., Tien Tzuo, and Tyler Sloat (collectively, “the Parties”) respectfully

 3   submit this Joint Stipulation Requesting an Order to Extend Expert Discovery and Dispositive

 4   Motion Deadlines. Good cause supports this request for relief.

 5          WHEREAS, on April 4, 2022, this Court entered a scheduling order (Dkt. 139) setting,

 6   among other pre-trial deadlines, the deadlines for expert discovery and dispositive motion briefing

 7   and hearing.

 8          WHEREAS, Plaintiffs have recently learned that key members of Plaintiffs’ expert witness

 9   team will be taking extended leaves overseas during the summer months of 2022 when opening and

10   rebuttal expert reports are presently scheduled to be exchanged.

11          WHEREAS, in light of the foregoing, the Parties have agreed, subject to approval by the

12   Court, to extend expert discovery and dispositive motion deadlines by approximately 30 days, as set

13   forth in the proposed modified schedule below.

14
                                                        EXISTING                     [PROPOSED]
                     ACTION
15                                                      DEADLINE                      DEADLINE

16    Expert Reports Exchanged                   July 1, 2022                 August 5, 2022

17
      Rebuttal Expert Reports Exchanged          August 5, 2022               September 9, 2022
18
      Expert Discovery Cutoff                    September 9, 2022            October 14, 2022
19

20    Dispositive Motion(s) Filed                October 14, 2022             November 18, 2022

21    Opposition(s) to Dispositive Motion(s)     November 11, 2022            December 16, 2022
22
      Reply ISO Dispositive Motion(s)            December 2, 2022             January 13, 2023
23
      Hearing on Dispositive Motions             December 16, 2022            TBD
24

25          WHEREAS, the Parties believe that the requested modifications will not have any effect on
26   the rest of the case schedule, including the previously Court-ordered dates for Pretrial Paperwork
27   (April 11, 2023), Final Pretrial Conference (April 25, 2023), and Jury Trial and Selection (May 8,
28   JOINT STIPULATION AND [PROPOSED] SCHEDULING
     ORDER EXTENDING EXPERT DISCOVERY AND
     DISPOSITIVE MOTION DEADLINES - 1
     CASE NO. 3:19-cv-03422-SI
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 1   2023).

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 3   IT IS SO STIPULATED.

 4
     Dated: May 20, 2022                  HAGENS BERMAN SOBOL SHAPIRO LLP
 5
                                          By: /s/ Steve W. Berman
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20
                                          Attorneys for Lead Plaintiff New Zealand Methodist
21                                        Trust Association
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28   JOINT STIPULATION AND [PROPOSED] SCHEDULING
     ORDER EXTENDING EXPERT DISCOVERY AND
     DISPOSITIVE MOTION DEADLINES - 2
     CASE NO. 3:19-cv-03422-SI
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 1   Dated: May 20, 2022                  WILMER CUTLER PICKERING
                                          HALE AND DORR LLP
 2
                                          By: /s/ Susan S. Muck
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19
                                          Attorneys for Defendants
20                                        Zuora, Inc., Tien Tzuo, and Tyler Sloat

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28   JOINT STIPULATION AND [PROPOSED] SCHEDULING
     ORDER EXTENDING EXPERT DISCOVERY AND
     DISPOSITIVE MOTION DEADLINES - 3
     CASE NO. 3:19-cv-03422-SI
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 1                                    SIGNATURE ATTESTATION

 2         Pursuant to Civil Local Rule 5-1(i)(3), all signatories concur in filing this Joint Stipulation

 3   Extending Expert Discovery Schedule.

 4
     Dated: May 20, 2022                          HAGENS BERMAN SOBOL SHAPIRO LLP
 5
                                                  By:             /s/ Steve W. Berman
 6                                                                Steve W. Berman
 7                                                Attorneys for Lead Plaintiff New Zealand Methodist
 8                                                Trust Association

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28   JOINT STIPULATION AND [PROPOSED] SCHEDULING
     ORDER EXTENDING EXPERT DISCOVERY AND
     DISPOSITIVE MOTION DEADLINES - 4
     CASE NO. 3:19-cv-03422-SI
          Case 3:19-cv-03422-SI Document 144 Filed 05/23/22 Page 6 of 6




 1                                           [PROPOSED] ORDER

 2            Pursuant to the Parties’ stipulation, and good cause appearing therefor, the Parties’ request to

 3   extend expert discovery and dispositive motion deadlines is hereby GRANTED.

 4            The new deadlines for expert discovery and dispositive motion briefing and hearing are as

 5   follows:

 6
                               ACTION                                     PRE-TRIAL DEADLINE
 7
      Expert Reports Exchanged                                     August 5, 2022
 8
      Rebuttal Expert Reports Exchanged                            September 9, 2022
 9
      Expert Discovery Cutoff                                      October 14, 2022
10
      Dispositive Motion(s) Filed                                  November 18, 2022
11
      Opposition(s) to Dispositive Motion(s)                       December 16, 2022
12
      Reply ISO Dispositive Motion(s)                              January 13, 2022
13
      Hearing on Dispositive Motions                               TBD February 23, 2023
14

15            The previously Court-ordered dates for Pretrial Paperwork, Final Pretrial Conference, and

16   Jury Trial and Selection shall remain unchanged.

17            IT IS SO ORDERED.

18

19   Dated:     May 23,              2022
                                                    The Honorable Susan Illston
20                                                  United States District Court Judge
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28   JOINT STIPULATION AND [PROPOSED] SCHEDULING
     ORDER EXTENDING EXPERT DISCOVERY AND
     DISPOSITIVE MOTION DEADLINES - 5
     CASE NO. 3:19-cv-03422-SI
